         Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 1 of 23




 1   COOLEY LLP                                     DUSTIN M. KNIGHT (pro hac vice)
     HEIDI L. KEEFE (178960)                        (dknight@cooley.com)
 2   (hkeefe@cooley.com)                            11951 Freedom Drive, 16th Floor
     REUBEN H. CHEN (228725)                        Reston, VA 20190
 3   (rchen@cooley.com)                             Telephone: (703) 456-8000
     DANIEL J. KNAUSS (267414)                      Facsimile: (703) 456-8100
 4   (dknauss@cooley.com)
     ALLIE LEEPER (307310)
 5   (aleeper@cooley.com)                           GREENBERG TRAURIG, LLP
     DEEPA KANNAPPAN (313573)                       KYLE D. CHEN (SBN 239501)
 6   (dkannappan@cooley.com)                        kchen@gtlaw.com
     3175 Hanover Street                            1900 University, Avenue, 5th Floor
 7   Palo Alto, CA 94304-1130                       East Palo Alto, CA 94304
     Telephone: (650) 843-5000                      Telephone: (650) 289-7887
 8   Facsimile: (650) 849-7400                      Facsimile: (650) 328-8508

 9
     Attorneys for Defendant and Counter-claimant
10   COOLIT SYSTEMS, INC. and Defendants
     CORSAIR GAMING, INC. and CORSAIR
11   MEMORY, INC.

12

13                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
14                                 SAN FRANCISCO DIVISION

15   ASETEK DANMARK A/S,                                CASE NO. 3:19-cv-00410-EMC

16                        Plaintiff and                 OPPOSITION TO PLAINTIFF’S
                          Counterdefendant,             MOTION TO EXCLUDE CERTAIN
17                                                      OPINIONS OF DR. JOHN P. ABRAHAM
                   v.
18
     COOLIT SYSTEMS, INC.,
19
                          Defendant and
20                        Counterclaimant,

21   COOLIT SYSTEMS USA INC., COOLIT
     SYSTEMS ASIA PACIFIC LIMITED, COOLIT
22   SYSTEMS (SHENZHEN) CO. LTD.

23                        Defendants,

24   CORSAIR GAMING, INC. and CORSAIR
     MEMORY, INC.,
25
                          Defendants.
26

27

28

                                                                     OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                                                    CASE NO. 3:19-CV-00410-EMC
            Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 2 of 23




 1                                                 TABLE OF CONTENTS

 2                                                                                                                                              Page

 3   I.       INTRODUCTION .....................................................................................................................1

 4   II.      ARGUMENT .............................................................................................................................1

 5            A.        The parties’ stipulations require the upper and lower chambers to both be
                        divided compartments within the reservoir’s “single receptacle,” and CoolIT’s
 6                      H100i products do not satisfy this requirement .............................................................1

 7            B.        Asetek’s interpretation of Dr. Abraham’s opinion is wrong..........................................2

 8            C.        Dr. Abraham’s opinion does not exclude preferred embodiments ................................8

 9            D.        Dr. Abraham’s illustration of what a single receptacle divided into
                        compartments within it means using a product Asetek accused of infringement
10                      in a prior case is accurate and does not change the meaning of “reservoir” or
                        “chamber” ....................................................................................................................11
11
              E.        The nesting doll analogy is irrelevant ..........................................................................15
12
              F.        Dr. Abraham’s opinion is not inconsistent with CoolIT’s IPR positions ....................16
13
     III.     CONCLUSION ........................................................................................................................18
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                                                        OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                                           -i-                                         CASE NO. 3:19-CV-00410-EMC
           Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 3 of 23




 1                                                     TABLE OF AUTHORITIES

 2                                                                                                                                        Page(s)
 3   Cases
 4   Arctic Cat Inc. v. Bombardier Prods., Inc.,
 5      No. 14-cv-62369, 2016 WL 9402395 (S.D. Fla. 2016, , related appeal 876 F.3d
        1350 Fed. Cir. 2017) ..................................................................................................................5
 6
     Asetek Danmark A/S v. CMI USA Inc.,
 7      852 F.3d 1352 (Fed. Cir. 2017)..............................................................................................3, 5
 8   Fujifilm Corp. v. Motorola Mobility LLC,
        No. 12–cv–03587–WHO, 2015 WL 1265009 (N.D. Cal. 2015) ...............................................5
 9

10   Power Integrations, Inc. v. Fairchild Semiconductor Intern., Inc.,
        763 F. Supp. 2d 671 (D. Del. 2010) ...........................................................................................5
11
     Other Authorities
12
     Federal Rule of Evidence 703 ....................................................................................................5, 14
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                                                       OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                                           -ii-                                       CASE NO. 3:19-CV-00410-EMC
           Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 4 of 23




 1   I.        INTRODUCTION

 2             Asetek’s motion should be denied. Dr. Abraham correctly applied the stipulated constructions

 3   and stipulated fact regarding the claimed “reservoir” and “chamber.” Contrary to Asetek’s arguments,

 4   he did not advance his own construction at all. Asetek complains about Dr. Abraham’s opinions by

 5   focusing on the term “reservoir,” which means “single receptacle defining a fluid flow path,” in

 6   isolation. But Asetek ignores how the terms “reservoir” and “chamber” interact with each other as

 7   required by the claim language and the stipulated fact because “chamber” means “compartment within

 8   the reservoir.” Asetek just does not like Dr. Abraham’s opinion that, under the parties’ stipulations,

 9   the accused upper and lower chambers in CoolIT’s products are not compartments within the single

10   receptacle of the reservoir and therefore do not infringe. But that does not make his opinion unreliable,
11   which also is not, as Asetek incorrectly alleges, that the “reservoir” can only have one receptacle
12   within it under all circumstances. Any concerns or disagreements Asetek has with Dr. Abraham’s
13   ultimate opinion can be addressed with cross-examination at trial. But Dr. Abraham’s application of
14   the stipulated constructions and the stipulated fact is not wrong.
15   II.       ARGUMENT
16             A.     The parties’ stipulations require the upper and lower chambers to both
                      be divided compartments within the reservoir’s “single receptacle,” and
17                    CoolIT’s H100i products do not satisfy this requirement
18             The parties stipulated to two constructions and a fact as follows:
19             (1) “reservoir” means “single receptacle defining a fluid flow path”
20                 (construction);

21             (2) “chamber” means “compartment within the reservoir” with “reservoir”
                   construed as above (construction) (emphasis added);1
22
               (3) The claimed “reservoir” in Asetek’s invention is a single receptacle that is
23                 divided into an upper chamber and a lower chamber, with the upper chamber
                   providing the pumping function and the lower chamber providing the thermal
24                 exchange function (fact).
25   (ECF Nos. 258 at 5 and 351 at 4.) The stipulations above require that the claimed “upper chamber”

26   and “lower chamber” in Asetek’s invention be two divided “compartments” both “within” the same

27

28
      1
          Emphasis is always added in this brief unless otherwise specified.
                                                                               OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                         -1-                                  CASE NO. 3:19-CV-00410-EMC
         Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 5 of 23




 1   “single receptacle” of the “reservoir,” a conclusion necessarily resulting from the interaction between

 2   “reservoir” and “chamber.” This is because, under the stipulated constructions of “reservoir” (1) and

 3   “chamber” (2) as applied to the stipulated fact (3) above, the following requirement follows:

 4               The claimed “single receptacle defining a fluid flow path” in Asetek’s invention
                 is a single receptacle that is divided into an upper compartment within the single
 5               receptacle defining a fluid flow path and a lower compartment within the single
                 receptacle defining a fluid flow path[.]”
 6

 7   That is, the claimed “upper chamber” and “lower chamber” are divided “compartments” both “within”
 8   the same “single receptacle.” It follows that, for example, if the accused upper chamber is within a
 9   first separable receptacle, and the accused lower chamber is within a second separable receptacle, then
10   the two accused chambers are not both “within” the same “single receptacle,” and thus do not infringe.
11   In other words, Asetek cannot point to two separable receptacles as the “upper chamber” and the
12   “lower chamber” that must be both within the same “single receptacle” of the “reservoir.”
13          B.      Asetek’s interpretation of Dr. Abraham’s opinion is wrong
14          Asetek misinterprets Dr. Abraham’s opinion, which is not that the “reservoir” under the
15   parties’ stipulations can have within it only one receptacle under all circumstances. Asetek ignores
16   the required configuration of the “chambers” under the parties’ stipulations.         The actual issue Dr.
17   Abraham opines on is not how many receptacles the claimed “reservoir” can have within a single
18   receptacle. Rather, he opines on whether the accused “chambers” each are divided compartments
19   within the same “single receptacle” of the accused “reservoir” in CoolIT’s products. As explained by
20   Dr. Abraham, under the parties’ stipulations, the claimed “upper chamber” and “lower chamber” must
21   be, respectively, the “upper compartment” and “lower compartment” divided within the same “single
22   receptacle” of the “reservoir” (ECF No. 351 at 4), which CoolIT’s H100i products do not have.
23

24

25

26

27

28

                                                                             OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                        -2-                                 CASE NO. 3:19-CV-00410-EMC
         Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 6 of 23




 1          Indeed, CoolIT has consistently taken this position, which is derived from the jury verdict in

 2   the CMI case: “[T]he claimed ‘reservoir’ in Asetek’s invention is a single receptacle that is divided

 3   into an upper chamber and a lower chamber[.]” (Ex. 1 at 4 (jury verdict in the CMI case).) As

 4   explained by Dr. Abraham, the reason why CoolIT’s products do not infringe is because Asetek always

 5   has to point to two separable receptacles in CoolIT’s products to meet both the “upper chamber” and

 6   “lower chamber” limitations. Specifically, as to CoolIT’s H100i products, Asetek has to point to a

 7   first separable receptacle and a second separable receptacle that are removably attached to each other

 8   to meet both the “upper chamber” and “lower chamber” limitations, as shown below (Ex. 2, 11/3/2021

 9   Tuckerman Report ¶¶ 279-280 (blue annotations added; red annotation original).):

10

11

12

13
                            First Separable Receptacle                   Second Separable Receptacle
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                          OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                      -3-                                CASE NO. 3:19-CV-00410-EMC
         Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 7 of 23




 1   As Dr. Abraham points out, the copper device in CoolIT’s H100i products has not just a heat

 2   exchanging interface – but it also has a volume that

 3   can receive and contain liquid, making it a

 4   “receptacle” under the word’s plain and ordinary

 5   meaning, as shown at right (Ex. 3, 12/8/2021 Abraham

 6   Non-Infringement     Report   ¶¶   85-86   (Merriam-

 7   Webster’s Collegiate Dictionary: “receptacle” is “one

 8   that receives and contains something”).) Asetek’s

 9   expert, Dr. Tilton, agrees:

10

11

12

13

14

15

16

17

18                                                             (Ex. 4, 12/19/2021 Tilton Depo Tr.
19                                                             at 39:6-16, Ex. 5 (U.S. Patent No.
20                                                             9,057,567 (FIG. 14A, excerpt)).)
21

22

23

24

25

26

27

28

                                                                   OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                     -4-                          CASE NO. 3:19-CV-00410-EMC
         Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 8 of 23




 1          Asetek complains that “Dr. Abraham clearly intends to explain to the jury what ‘a single

 2   receptacle that is divided into two chambers’ actually means,” and somehow that is an improper claim

 3   construction argument to the jury. (See Mot. at 8.) But that the “claimed ‘reservoir’ in Asetek’s

 4   invention is a single receptacle that is divided into an upper chamber and a lower chamber, with the

 5   upper chamber providing the pumping function and the lower chamber providing the thermal exchange

 6   function” is a stipulated fact.2 (See ECF No. 351 at 4.) As such, Dr. Abraham is permitted to base his

 7   opinion on this stipulated fact under Federal Rule of Evidence 703. Moreover, courts have repeatedly

 8   held that experts may opine on the implications of a court’s constructions, as well as the plain and

 9   ordinary meaning of words. See, e.g., Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc.,

10   763 F. Supp. 2d 671, 695 (D. Del. 2010) (denying patentee’s motion to exclude and holding that “[t]he

11   implications of the Court’s constructions are matters on which the parties’ experts may opine, and may

12   disagree.”); Arctic Cat Inc. v. Bombardier Prods., Inc., No. 14-cv-62369, 2016 WL 9402395, *7 (S.D.

13   Fla. 2016), related appeal 876 F.3d 1350 Fed. Cir. 2017) (denying motion to exclude accused

14   infringer’s technical expert’s testimony and rejecting the contention that the expert was not applying

15   the court’s claim construction, and finding that the parties were just disputing how the court’s claim

16   construction applied to the accused product); Fujifilm Corp. v. Motorola Mobility LLC, No. 12–cv–

17   03587–WHO, 2015 WL 1265009, *5-6 (N.D. Cal. 2015) (denying motion to strike and allowing expert

18   to opine on “plain and ordinary meaning”). That is exactly what is happening here, and the jury

19   deserves to hear the opinion to decide for itself. Asetek is free to cross-examine on the points with

20   which it disagrees.

21

22

23

24

25
     2
       During the 2014 CMI trial, Asetek urged, the jury and the court determined, and the Federal Circuit
26   later upheld, the same fact the parties stipulated to. Ex. 6 (Asetek’s Proposed Jury Form) at 3-4; Ex.
     1 (Jury Verdict) at 3-4; Ex. 7 (Asetek’s Proposed Findings of Fact) at 2, 7-8; Ex. 8 (Court’s Findings
27   of Fact) at 10; Asetek Danmark A/S v. CMI USA Inc., 852 F.3d 1352, 1357-58 (Fed. Cir. 2017) (“the
28   jury found that the claimed liquid-cooling systems differ from the prior art … because the ‘reservoir’
     is a ‘single receptacle that is divided into an upper chamber and a lower chamber’”) (emphasis added).

                                                                          OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                      -5-                                CASE NO. 3:19-CV-00410-EMC
         Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 9 of 23




 1          A key factual point Dr. Abraham makes here is that Asetek’s infringement theory requires the

 2   copper device’s volume that can receive and contain liquid to satisfy “the lower chamber providing

 3   the thermal exchange function.” (ECF No. 342 at 2 of 48.) This is because, as shown below (Ex. 3,

 4   12/8/2021 Abraham Non-Infringement Report ¶¶ 88 (excerpt)), there is virtually no space within the

 5

 6
                                         First Separable     Second Separable
 7                                         Receptacle           Receptacle

 8

 9

10

11

12

13

14

15   “first separable receptacle” (which includes the “upper
16   chamber/compartment”) for Asetek to map to the “lower
17   chamber/compartment” to provide the required thermal
18   exchange function under the parties’ stipulation. (Compare
19   Ex. 2, 11/3/2021 Tuckerman Report ¶¶ 279-280, 284 (blue
20   annotations added; red annotation original) with Ex. 3,
21   12/8/2021 Abraham Non-Infringement Report ¶¶ 85-86, 88
22   (excerpt); see also ECF No. 351 at 4 (“the lower chamber
23   providing the thermal exchange function”).) Asetek needs the
24   volume in the “second separable receptacle,” i.e., the copper
25   device, to map to the “lower chamber/compartment” to
26

27

28

                                                                        OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                      -6-                              CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 10 of 23




 1   provide the required thermal exchange function (id.), as shown in the illustrative cross-sectional view

 2   of the H100i schematics below-right:

 3

 4

 5                                                                First separable receptacle
                                                                           including
 6
                                                                    the “upper chamber”
 7

 8

 9

10
                                                             Second separable receptacle including
11                                                                   the “lower chamber”
12

13

14
                                                          Illustrative Cross-Sectional View of H100i
15

16

17

18   (Compare Ex. 2, 11/3/2021 Tuckerman Report ¶¶ 279-280, 284 (excerpt rotated clockwise by 90°;

19   blue annotations added; red annotation original) with Ex. 3, 12/8/2021 Abraham Non-Infringement

20   Report ¶¶ 85-86 (excerpt rotated clockwise by 90°).)

21          And there lies the rub. By requiring a second separable receptacle, i.e., the copper device

22   including the volume to receive and contain liquid, to map to the “lower chamber/compartment”

23   limitation, Asetek’s infringement theory violates the parties’ stipulation that both the “upper chamber”

24   and the “lower chamber” are “compartments within the reservoir,” i.e., the same “single receptacle

25   defining a fluid flow path.”

26

27

28

                                                                            OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                       -7-                                 CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 11 of 23




 1           And that is Dr. Abraham’s actual non-infringement opinion as shown in the figure below

 2   reproduced from his non-infringement report. The accused “[l]ower chamber” in CoolIT’s H100i

 3   products pointed to by Asetek’s expert, Dr. Tuckerman, is not “a lower chamber” within the same

 4   single receptacle defining a fluid flow path, as required by the parties’ stipulation.

 5

 6

 7

 8

 9
              First Separable                                                     Second Separable
10
                 Receptacle                                                           Receptacle
11              including the                                                        including the
              “upper chamber”                                                      “lower chamber”
12

13

14

15   (Ex. 3, 12/8/2021 Ex. 3, Abraham Non-Infringement Report ¶ 87 (blue annotations added; red

16   annotation original).) As can be seen above, the accused “Lower chamber” is a compartment within

17   two separable receptacles that are removably attached to each other using screws. (Compare id. with

18   id. at ¶¶ 85-86.)

19           C.      Dr. Abraham’s opinion does not exclude preferred embodiments

20           Dr. Abraham’s opinion that the claimed upper chamber and lower chamber must be divided

21   compartments within the same “single receptacle” of the “reservoir” does not exclude any preferred

22   embodiment. As can be seen in Asetek’s own annotations of Figure 15 below, the “reservoir 14”

23   includes within its same “single receptacle” (outlined and colored in green) both the upper

24   chamber/compartment and the lower chamber/compartment (colored in pink):

25

26

27

28

                                                                             OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                        -8-                                 CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 12 of 23




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11   (Ex. 9 (4/4/2011 Reply to Office Action), at 4, 6, 13-14 (green color and outline, red circles, and pink
12   color added).) Specifically, during prosecution of the parent application of the ’362 patent (with the
13   same written description), Asetek amended its claims to recite a reservoir with an upper and a lower
14   chamber and annotated FIG. 15 to show the upper and the lower chambers are compartments contained
15   within the same “reservoir 14.” Thus, Dr. Abraham’s opinion is consistent with Asetek’s own file
16   history and annotations, and does not exclude this preferred embodiment in the ’362 patent.
17          Asetek also cites and annotates an embodiment found in Figures 17 and 20 in other Asetek
18   patents, but not included in the ’362 patent, to argue Dr. Abraham’s opinion somehow excludes the
19   embodiment in those figures. (Mot. at 11.) Since the ’362 patent is the only one that is at issue right
20   now, Asetek’s arguments based on Figures 17 and 20 are irrelevant and should be ignored on
21   procedural grounds alone. (See Scheduling Order (ECF No. 380) (specifying current motions are only
22   about the ’362 patent).) But even on the merits, Asetek’s own annotations to Figure 20 in a prior filing
23   show that Dr. Abraham’s opinion does not exclude the embodiment:
24

25

26

27

28

                                                                            OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                       -9-                                 CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 13 of 23




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14
     (Asetek’s Opening Claim Construction Brief (ECF No. 104) at 3-4 (annotations and colors original).) As
15
     can be seen above, Asetek points to the “reservoir” in Figure 20 that is the same “single receptacle”
16
     (green) to include both the “upper/pump chamber” and the “lower/thermal exchange chamber” (pink).
17
     Critically, Asetek does not need any space in a second receptacle to map the “lower/thermal exchange
18
     chamber” to in either Figure 15 or 20. In Figure 15, Asetek points to the compartment (pink) as the
19
     lower chamber within the same single receptacle (green) of the reservoir that also includes the upper
20
     chamber. Similarly, in Figure 20, Asetek points to the compartment (pink) as the thermal exchange
21
     chamber within the same single receptacle (green) of the reservoir that also includes the pump chamber
22
     (light blue). Further, the heat exchanging interfaces in Figures 15 and 20 are not “receptacles” as they
23
     do not hold or contain liquid. Therefore, Dr. Abraham’s opinion does not exclude any preferred
24
     embodiments.
25

26

27

28

                                                                            OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                      -10-                                 CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 14 of 23




 1          D.      Dr. Abraham’s illustration of what a single receptacle divided into compartments
                    within it means using a product Asetek accused of infringement in a prior case is
 2                  accurate and does not change the meaning of “reservoir” or “chamber”

 3          Asetek incorrectly accuses Dr. Abraham of concocting his own interpretation of what the

 4   stipulated fact means outside of the stipulated constructions of “reservoir” and “chamber.” Not so.

 5   He is just opining on how he believes the stipulated constructions apply to the stipulated fact here.

 6   That is his job, and it is up to the jury to decide if they agree. In forming his opinion, Dr. Abraham

 7   analyzed a video exhibit from a prior trial to demonstrate the internal structures of a product Asetek

 8   had previously accused. He then had frames of the video exhibit annotated to show how the stipulated

 9   constructions apply to the stipulated fact. Specifically, Dr. Abraham states in his report that, “[t]o

10   illustrate what ‘a single receptacle that is divided into two chambers’ actually means, a demonstration

11   of a Cooler Master Seidon 120V product that Asetek claimed to be infringing the single-receptacle

12   ‘reservoir’ limitation as follows would be instructive:”

13

14

15

16

17

18

19

20

21

22

23

24

25          As can be seen in the frame above, Dr. Abraham merely indicates a lower/thermal exchange
26   chamber in dark red as a compartment within a single-receptacle reservoir when the reservoir is viewed
27   from its bottom side. The reservoir is then flipped over towards the reader to show what it looks like
28   from the other side, as shown in the later frames below:

                                                                           OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                      -11-                                CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 15 of 23




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14           As can be seen in the frames above and below, as the single-receptacle reservoir is being flipped
15   over towards the reader, the upper/pump chamber in dark blue as a compartment within the single-
16   receptacle reservoir is revealed when the reservoir’s top side can be viewed.
17

18

19

20

21

22

23

24

25

26

27

28

                                                                              OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                        -12-                                 CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 16 of 23




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13          Dr. Abraham then explains: “[a]s can be seen below with the single receptacle’s lower/thermal

14   exchange chamber and upper/pump chamber shown side-by-side, the same “single receptacle … is

15   divided into two chambers.” “It is important to note that the same single-receptacle component

16   contains within it two chambers on its top and bottom,” respectively:

17

18

19

20

21

22

23

24

25

26
     Dr. Abraham continues: “[a]s can be seen above, the structure separating the two chambers is within
27
     the same single receptacle and divides such single receptacle from within and into the two chambers
28

                                                                             OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                     -13-                                   CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 17 of 23




 1   within it. The two chambers do not have their own separate and seperable enclosures, and they depend

 2   on the single receptacle to enclose them” (emphasis original).

 3           Asetek alleges that, by illustrating above what “a single receptacle that is divided into two

 4   chambers” actually means, Dr. Abraham somehow created his own construction of “reservoir.” But

 5   that allegation is wrong. (Mot., at 4.) The statement Dr. Abraham actually illustrates in his report, “a

 6   single receptacle that is divided into two chambers” (Ex. 3, 12/8/2021 Abraham Report ¶ 53), is part

 7   of the parties’ stipulated fact:

 8           The claimed “reservoir” in Asetek’s invention is a single receptacle that is divided into
             an upper chamber and a lower chamber, with the upper chamber providing the
 9           pumping function and the lower chamber providing the thermal exchange function.
10
     (ECF No. 351 at 4) (see n.2 supra (Asetek itself proposed and had the jury determine this fact).) Thus,
11
     contrary to Asetek’s allegation, Dr. Abraham did not concoct his own construction of “reservoir” by
12
     illustrating what the factual statement, “a single receptacle that is divided into two chambers,” means.
13
     Fed. R. Evid. 703 (“An expert may base an opinion on facts or data in the case that the expert has been
14
     made aware of or personally observed.”) Further, as shown in an illustrative cross-sectional view of
15
     the accused Cooler Master Seidon 120V product below, Dr. Abraham’s illustration above does not
16
     change the parties’ stipulated construction of “reservoir” or “chamber” at all:
17

18
                       The same                 Upper/pump chamber containing
19                       single-                the pump, including the impeller
20                     receptacle
                       reservoir
21                    divided into                  Lower/thermal exchange
                     two chambers                          chamber
22

23
                          Heat
24                     exchanging
25                      interface

26                                   Illustrative Cross-Sectional View of
                                    Accused Cooler Master Seidon 120V
27           As can be seen above, nothing in Dr. Abraham’s illustration alters in any way the stipulated
28   construction of “reservoir” or “chamber.” Indeed, he applies them faithfully. “The same single

                                                                            OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                       -14-                                CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 18 of 23




 1   receptacle reservoir divided into two chambers” referred to by Dr. Abraham is a “single receptacle

 2   defining a fluid flow path.” The “upper/pump chamber containing the pump, including the impeller”

 3   and the “lower/thermal exchange chamber” are “compartments within the reservoir,” with “reservoir”

 4   construed as “single receptacle defining a fluid flow path.” Also, the heat exchange interface in the

 5   Cooler Master Seidon 120V product does not hold or contain liquid, and thus is not a “receptacle”

 6   under its plain and ordinary meaning.

 7          Dr. Abraham’s demonstration above is also supported by Asetek’s own annotations to the

 8   figures in the patents, as shown (again) below:

 9

10

11

12

13

14

15

16

17

18   (Ex. 9 (4/4/2011 Reply to Office Action), at 4, 6, 13-14 (green color and outline, red circles, and pink
19   color added); Asetek’s Opening Claim Construction Brief (ECF No. 104) at 3-4 (green and pink
20   annotations in Figure 15 added; other annotations and colors original).) Thus, Dr. Abraham’s
21   demonstration stays faithful to the parties’ stipulation and does not change the meaning of “reservoir”
22   or “chamber” at all, as even shown by Asetek’s own annotations.
23          E.      The nesting doll analogy is irrelevant
24          Asetek’s recitation of Judge Tigar’s nesting doll analogy is a red herring and is irrelevant to
25   Dr. Abraham’s opinion. As explained above, Dr. Abraham’s opinion was never that the “reservoir”
26   can only have one receptacle within it under the parties’ stipulation. Further, the premise of the
27   analogy requires the smaller dolls – or receptacles – be contained completely within the biggest doll
28   that is supposed to be the “single receptacle.” But no such smaller receptacles are completely

                                                                            OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                       -15-                                CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 19 of 23




 1   contained within the biggest receptacle in CoolIT’s products, nor is it otherwise discussed by Dr.

 2   Abraham. Instead, as explained above and again shown below, the second separable receptacle is

 3   actually outside of the first separable receptacle and is not contained within, let alone completely, the

 4   first separable receptacle. Thus, Asetek’s argument based on the nesting doll analogy is irrelevant and

 5   should be ignored.

 6

 7

 8                                                              First separable receptacle
                                                                         including
 9
                                                                  the “upper chamber”
10

11

12

13
                                                          Second separable receptacle including
14                                                                the “lower chamber”
15

16

17
                                                         Illustrative Cross-Sectional View of H100i
18

19

20

21

22   (Compare Ex. 2, 11/3/2021 Tuckerman Report ¶¶ 279-280, 284 (excerpt rotated clockwise by 90°;

23   blue annotations added; red annotation original) with Ex. 3, 12/8/2021 Abraham Non-Infringement

24   Report ¶¶ 85-86 (excerpt rotated clockwise by 90°).)

25          F.      Dr. Abraham’s opinion is not inconsistent with CoolIT’s IPR positions

26          Nothing in Dr. Abraham’s non-infringement opinion explained above is inconsistent with

27   CoolIT’s IPR positions nor prohibits other components from being added or made part of the claimed

28   “reservoir” or its “single receptacle.” In fact, the claim language of the ’355 makes clear that other


                                                                            OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                       -16-                                CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 20 of 23




 1   components can be part of the “reservoir.” For example, claim 1 of the ’355 includes the following

 2   claim elements: “the reservoir including: a pump chamber housing an impeller and defined at least in

 3   part by an impeller cover and a double sided chassis, the impeller being positioned on one side of the

 4   chassis and a stator of the pump is positioned on an opposite side of the chassis.” As the claim

 5   language shows, there are multiple additional components that are included in the “reservoir,”

 6   including at least “an impeller,” an “impeller cover,” and a “double-sided chassis.”

 7          CoolIT’s IPR statements are consistent with the actual non-infringement opinion of Dr.

 8   Abraham. Asetek mischaracterizes CoolIT’s IPR statements and takes them out of context. CoolIT’s

 9   mapping of Duan to the “reservoir” limitation, like the ’355 claim language, points to a structure, while

10   comprising other components, includes a single receptacle that is divided into an upper

11   chamber/compartment and a lower chamber/compartment within the same single receptacle. As the
12   claim language makes clear, the reservoir can include other components. That the single receptacle
13   of Duan’s reservoir is divided into an upper chamber/compartment and a lower chamber/compartment
14   within the same single receptacle is shown in the following figure (within the thick, dark red outlines).
15

16

17

18

19                         single receptacle
20

21

22
             upper chamber/compartment
23

24

25

26

27                                                                      lower chamber/compartment

28

                                                                            OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                       -17-                                CASE NO. 3:19-CV-00410-EMC
            Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 21 of 23




 1             Asetek argues, without any evidentiary support, that “[e]ach of those components are ‘capable

 2   of holding coolant’ if properly orientated.” (Mot. at 12.) But whether those other components can or

 3   cannot hold liquid is irrelevant. The only relevant issue is whether Duan discloses or teaches a single

 4   receptacle divided into an upper chamber/compartment and a lower chamber/compartment within the

 5   same single receptacle. And as can be seen above, it does, which is consistent with Dr. Abraham’s

 6   opinion. Therefore, there is nothing contradictory between Dr. Abraham’s opinion and CoolIT’s IPR

 7   positions, and Asetek’s argument to the contrary should be rejected.

 8   III.      CONCLUSION

 9             For at least the above reasons, Asetek’s motion should be denied.

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                            OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                                       -18-                                CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 22 of 23




 1   Dated: April 14, 2022             COOLEY LLP

 2
                                       By:      Reuben H. Chen
 3                                           Reuben H. Chen

 4                                           Heidi L. Keefe (SBN 178960)
                                             hkeefe@cooley.com
 5                                           Reuben H. Chen (SNB 228725)
                                             rchen@cooley.com
 6                                           Daniel J. Knauss (SBN 267414
                                             dknauss@cooley.com
 7                                           Lam K. Nguyen (SNB 265285)
                                             lnguyen@cooley.com
 8                                           Deepa Kannappan (SBN 313573)
                                             dkannappan@cooley.com
 9                                           Alexandra Leeper (SBN 307310)
                                             aleeper@cooley.com
10                                           COOLEY LLP
                                             3175 Hanover Street
11                                           Palo Alto, CA 94304-1130
                                             Telephone: (650) 843-5000
12                                           Facsimile: (650) 849-7400

13                                           Dustin M. Knight (pro hac vice)
                                             dknight@cooley.com
14                                           COOLEY LLP
                                             11951 Freedom Drive, 16th Floor
15                                           Reston, VA 20190
                                             Telephone: (703) 456-8000
16                                           Facsimile: (703) 456-8100

17                                           Attorneys for Defendant and Counterclaimant
                                             COOLIT SYSTEMS, INC. and Defendants COOLIT
18                                           SYSTEMS USA INC., COOLIT SYSTEMS ASIA
                                             PACIFIC LIMITED, COOLIT SYSTEMS
19                                           (SHENZHEN) CO., LTD., CORSAIR GAMING,
                                             INC. and CORSAIR MEMORY, INC.
20
                                             Kyle D. Chen (SBN 239501)
21                                           kchen@gtlaw.com
                                             GREENBERG TRAURIG, LLP
22                                           1900 University, Avenue, 5th Floor
                                             East Palo Alto, CA 94304
23                                           Telephone: (650) 289-7887
                                             Facsimile: (650) 328-8508
24
                                             Attorneys for Defendant and Counterclaimant
25                                           COOLIT SYSTEMS, INC.

26                                           Kenneth J. Dyer (SBN 191192)
                                             KDyer@dickinsonwright.com
27                                           DICKINSON WRIGHT RLLP
                                             800 West California Avenue, Suite 110
28                                           Sunnyvale, CA 94086
                                             Telephone: (408) 701-6170
                                                                 OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                             -19-                               CASE NO. 3:19-CV-00410-EMC
     Case 3:19-cv-00410-EMC Document 420 Filed 04/14/22 Page 23 of 23




 1                                     Facsimile: (884) 670-6009

 2                                     Attorneys for Defendant and Counterclaimant
                                       COOLIT SYSTEMS, INC. and Defendants COOLIT
 3                                     SYSTEMS USA INC., COOLIT SYSTEMS ASIA
                                       PACIFIC LIMITED, COOLIT SYSTEMS
 4                                     (SHENZHEN) CO., LTD.

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                         OPPOSITION TO MOTION TO EXCLUDE ABRAHAM
                                       -20-                             CASE NO. 3:19-CV-00410-EMC
